This case presents the same question of law as was raised in Crittenden v. Murphy, ante, p. 803, [173 P. 595]. The lower court took the same view of the law as did this court in Crittenden v. Murphy, and found on ample evidence that at the time of the injury the son was driving defendant's automobile with his father's implied consent, *Page 820 
and further found that the son did not have the license to operate an automobile required by the Motor Vehicle Act of 1913 (Stats. 1913, p. 639), which act contained a provision identical with that quoted in Crittenden v. Murphy. Accordingly the court gave judgment for the plaintiff.
Judgment affirmed.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on June 14, 1918.
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